       Case 2:07-cr-00302-GEB Document 71 Filed 05/06/08 Page 1 of 2


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 3     Telephone: 530.759.0700
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 4
     Attorney for Defendant
 5   TAVARES SIMPSON
 6

 7

 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                       SACRAMENTO DIVISION
11

12

13   UNITED STATES OF AMERICA,                          ) Case No. CR S 07- 302 GEB
                                                        )
14                               Plaintiff,             ) STIPULATION AND [PROPOSED]
                                                        ) ORDER TO CONTINUE SENTENCING
15          vs.                                         )
                                                        )
16   TAVARES SIMPSON, et al.,                           )
                                                        )
17                               Defendant.             )
                                                        )
18                                                      )
19

20           It is hereby stipulated and agreed to between plaintiff, UNITED STATES OF
21
     AMERICA, through its counsel of record, Kenneth J. Melikian, Assistant United States
22
     Attorney, and defendant, TAVARES SIMPSON, through his counsel of record, Joseph J.
23
     Wiseman, and without objection from the United States Probation Officer assigned to this case,
24

25   that the sentencing of defendant now scheduled for May 9, 2008 at 9:00 a.m., be rescheduled to

26   May 16, 2008 at 9:00 a.m.
27

28
     ____________________________________________________________________________________________________
     Stipulation and Order To Continue Sentencing          1                        Case No. CR S 07 302 GEB
       Case 2:07-cr-00302-GEB Document 71 Filed 05/06/08 Page 2 of 2


 1           The parties are requesting this continuance to provide defendant’s counsel additional time
 2
     to prepare the case for sentencing.
 3
     Dated: May 5, 2008                              Respectfully submitted,
 4

 5
                                                     JOSEPH J. WISEMAN, P.C.

 6
                                                     By: __/s/Joseph J. Wiseman__________________
 7                                                          JOSEPH J. WISEMAN
 8
                                                            Attorney for Defendant
                                                            TAVARES SIMPSON
 9

10
     Dated: May 5, 2008                              McGREGGOR SCOTT,
11                                                   UNITED STATES ATTORNEY

12                                                   By: __/s/Kenneth J. Melikian__________________
                                                            KENNETH J. MELIKIAN
13
                                                            Attorney for Plaintiff
14                                                          UNITED STATES OF AMERICA
                                                            Per telephonic authority
15

16

17
                                                    ORDER
18
             GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
19
     sentencing of defendant TAVARES SIMPSON, in the above-captioned case shall be continued
20
     to May 16, 2008 at 9:00 a.m.
21

22   Dated: May 6, 2008
23

24
                                                   GARLAND E. BURRELL, JR.
25
                                                   United States District Judge
26

27

28
     ____________________________________________________________________________________________________
     Stipulation and Order To Continue Sentencing          2                        Case No. CR S 07 302 GEB
